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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


KONOIKE CONSTRUCTION CO. LIMITED,

Plaintiff,

         v.
                                                       Civil Action No. 17-CV-1986
MINISTRY OF WORKS, TANZANIA, et al.                    Judge Richard J. Leon

Defendants.

               RETURN OF SERVICE FOR TANZANIA ATTORNEY GENERAL

        I HEREBY CERTIFY that, pursuant to the provisions of 28 U.S.C. § 1608(a)(3), I caused

a copy of the summons, petition to confirm arbitration award, notice of suit, and all attachments

to be served on Attorney General of the United Republic of Tanzania (“Attorney General”), by

(i) mailing the aforesaid documents to the said entity, addressed to Attorney General, PO Box

9050, Dar es Salaam, Tanzania, which were delivered on October 16, 2017, and (ii) mailing

copies of the aforesaid documents to Attorney General, care of the Ministry of Foreign Affairs

and East African Cooperation, Tanzania, PO Box 2933, Dodoma, Tanzania, which were

delivered on October 23, 2017. True and correct copies of the DHL waybills, the tracking

receipts, and the proofs of delivery are attached as Exhibits 1 and 2.

        I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

information is true and correct. Executed on October 27, 2017.

                                              By:     /s/ Jared R. Butcher

                                                      Jared R. Butcher (DC Bar 986287)
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